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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANNE WEST, TOM BROWN,                             Civil Action No. 2:19-cv-0501-AJS
                     Plaintiffs,
       v.                                         LEAD CASE
DOCUSIGN, INC.,
                     Defendant.
KAREN CLARK and SOFIA                             Civil Action No. 1:19-CV-00137-AJS
MONTANO,
                     Plaintiffs,
                                                  MEMBER CASE
       v.
TRINATURK.COM, LT2, INC., and
                                                  Electronically Filed
DOES 1-5,
                     Defendant.



  STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs
Karen Clark and Sofia Montano (“Plaintiffs”) and Defendant LT2, Inc. (“Defendant”)
stipulate and request that this Court enter a dismissal with prejudice of Plaintiffs’
Complaint in the above-entitled action, in its entirety, with the Court to retain jurisdiction
over the parties and the action until October 1, 2021, for the sole purpose of enforcement
of the parties’ obligation s pursuant to the Confidential Settlement Agreement and Release
of Claims.
       Each party shall bear their own fees, costs and attorneys’ expenses.
Dated: November 18, 2019
       Signatures below.
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THE SWEET LAW FIRM, P.C.               OGLETREE, DEAKINS, et al.

By:     /s/ Benjamin J. Sweet          By:     /s/ Jennifer G. Betts
Benjamin J .Sweet, Esq.                Jennifer G. Betts, Esq.
1145 Bower Hill Road, Suite 104        One PPG Place, Suite 1900
Pittsburgh, Pennsylvania 15243         Pittsburgh, PA 15222
Telephone: 412-857-5350                Telephone: 412-246-0153

Attorneys for Plaintiffs               Attorneys for Defendant




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